     Case 2:15-cv-00236-ROS Document 236-1 Filed 01/18/19 Page 1 of 29



 1 ELIZABETH A. STRANGE
 2 First Assistant United States Attorney
   District of Arizona
 3
 4 ADAM R. SMART (NC Bar No. 31797)
   KATHERINE R. BRANCH (AZ Bar No. 025128)
 5 Assistant U.S. Attorneys
   Two Renaissance Square
 6
   40 North Central Avenue, Suite 1800
 7 Phoenix, Arizona 85004
   Telephone: 602-514-7500
 8 Facsimile: 602-514-7760
 9 Email: Adam.Smart@usdoj.gov
          Katherine.Branch@usdoj.gov
10 Attorneys for the United States of America
11                      IN THE UNITED STATES DISTRICT COURT
12                          FOR THE DISTRICT OF ARIZONA
13
14   Lawrence N. Cherry and Judy G. Cherry,              CV 15-00236-PHX-ROS
     husband and wife,
15                                                     INDEX OF EXHIBITS TO
                         Plaintiffs,                DEFENDANT’S RESPONSE TO
16                                                    PLAINTIFFS’ MOTION IN
              v.                                    LIMINE RE: QUALIFICATIONS
17                                                    OF STANDARD OF CARE
     United States of America; John Does and                 EXPERTS
18   Jane Does I through X,
19                       Defendants.
20
21    Ex.   Exhibit Description
22    A     Dr. Reardon’s Deposition Excerpts
23    B     Physician Assistant Steven Carbonniere’s Deposition Excerpts
24
25
26
27
28
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            EXHIBIT A
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                UNITED STATES DISTRICT COURT
                     DISTRICT OF ARIZONA


Lawrence N. Cherry and Judy G.    )
Cherry, husband and wife,         )
                                  )
                  Plaintiffs,     )
                                  )
    vs.                           )No. 2:15-cv-00236-PGR
                                  )
United States of America; et al., )
                                  )
                  Defendants.     )
__________________________________)



         DEPOSITION OF CHRISTOPHER REARDON, M.D.


                        Phoenix, Arizona
                        August 14, 2015
                           9:26 a.m.



                                    FOLDY REPORTING
                             4032 N. Miller Rd., Ste. 100
                                Scottsdale, AZ 85251
                                     480.699.8002
                           Registered Reporting Firm R1004



                          Prepared by:
                          Leslie Foldy, RMR, CRR
                          Certified Court Reporter 50041



Prepared for:
(Copy)
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                                                                         Page 4

 1

 2            DEPOSITION OF CHRISTOPHER REARDON, M.D.,

 3   Taken on August 14, 2015, commencing at 9:26 a.m., at the

 4   offices of Robbins & Curtin, Phoenix, Arizona, before

 5   Leslie J. Foldy, Arizona Certified Court Reporter No.

 6   50041.

 7

 8   APPEARANCES:

 9       For the Plaintiffs:

10             John M. Curtin, Esq.
               Robbins & Curtin
11             301 East Bethany Home Road, Suite B-100
               Phoenix, AZ 85012
12             john@robbinsandcurtin.com

13       For the Defendants:

14             Adam R. Smart, Esq.
               United States Attorney's Office
15             40 North Central Avenue, Suite 1200
               Phoenix, AZ 85004
16             adam.smart@usdoj.gov

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19

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 1                      CHRISTOPHER REARDON, M.D.,

 2   a witness herein, having been first duly sworn by Leslie

 3   Foldy, Arizona Certified Court Reporter No. 50041, to

 4   speak the truth and nothing but the truth, was examined

 5   and testified as follows:

 6

 7                              EXAMINATION

 8

 9   BY MR. CURTIN:

10       Q.    Good morning.      Could you state your full name

11   and spell it for the record, please?

12       A.    Christopher Lee Reardon.

13       Q.    You are a medical doctor?

14       A.    Yes.

15       Q.    Have you ever had your deposition taken before?

16       A.    No.

17       Q.    A couple of things we need to do to get a good

18   transcript.

19             First of all, I need you to give me verbal

20   responses, not gestures, nods and shakes of the head --

21       A.    Right.

22       Q.    -- and other things that don't show up in the

23   transcript.

24             Secondly, I'll ask you to avoid uh-huh and

25   huh-uh.   I'll understand what you mean, but they look
     Case 2:15-cv-00236-ROS Document 236-1 Filed 01/18/19 Page 6 of 29
                                                                     Page 56

 1       A.    Laterally?

 2       Q.    Yes.

 3       A.    Yes.

 4       Q.    That would depend on the lesion being

 5   essentially raised above the skin level, wouldn't it?

 6       A.    No.

 7       Q.    Could the lesion extend under the skin?

 8       A.    Squamous cell carcinoma in situ doesn't do that.

 9       Q.    Okay.    But we don't know at this point whether

10   it's invasive or squamous cell carcinoma in situ, do we?

11       A.    Based on my clinical observation of having seen

12   these lesions for my whole career, this looks like a

13   squamous cell carcinoma in situ, and that's all that

14   that -- you know, that's all that it looks like.              Plus

15   there is no induration underneath it to indicate there is

16   more there with palpation.        There is no change in the

17   surface contracting it.        There is nothing going on

18   underneath this lesion clinically.

19       Q.    Clinically.      But we know from the pathology that

20   the deep margins are involved?

21       A.    That's true.

22       Q.    Okay.    So at this point invasive squamous cell

23   carcinoma is on the differential, isn't it?

24       A.    Very low on the differential.

25       Q.    Okay.    Well, would it be reasonable and prudent
     Case 2:15-cv-00236-ROS Document 236-1 Filed 01/18/19 Page 7 of 29
                                                                     Page 57

 1   at this time for a dermatologist to attempt to determine

 2   whether or not there is invasive squamous cell carcinoma?

 3                     MR. SMART:    Objection, foundation.

 4                     Go ahead.

 5                     THE WITNESS:    Based on my long -- my long

 6   experience with these lesions, observing them clinically,

 7   there is no -- there is nothing there to indicate that

 8   there is some invasive component.

 9   BY MR. CURTIN:

10       Q.    Okay.    You've agreed with me that invasive

11   squamous cell carcinoma is on the differential, so what

12   I'm asking you is, when --

13             Let me ask it as an abstract question.

14             When invasive squamous cell carcinoma is on the

15   differential, is it reasonable and prudent for a

16   dermatologist to attempt to define whether or not there

17   is, in fact, invasive carcinoma or not?

18       A.    If there is invasive carcinoma, you would see

19   that clinically because it grows vertically, it grows up

20   and it grows down.      I'm not seeing that.        The biopsy only

21   basically confirmed what my clinical diagnosis was.

22       Q.    Okay.    What the biopsy says is that upon

23   completion of the biopsy, there is squamous cell

24   carcinoma left behind, true --

25                    MR. SMART:     Objection, form, foundation.
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 1   Maybe I can make it simpler.

 2             Are you telling me that there is nothing in this

 3   biopsy report that would require a reasonable and prudent

 4   dermatologist to evaluate the patient for invasive

 5   squamous cell carcinoma?

 6                     MR. SMART:    Objection again, form,

 7   foundation, speculation.

 8                     THE WITNESS:    It depends.

 9   BY MR. CURTIN:

10       Q.    Okay.    What does it depend on?

11       A.    If you really weren't sure what the lesion was,

12   you would biopsy it again.        But if you were pretty sure

13   with your clinical judgment what it was, you wouldn't

14   need to biopsy it again.

15       Q.    Okay.    Who was it that was making the decision

16   at this point whether to biopsy it again?            Was it you?

17       A.    I believe we talked about it.

18       Q.    Okay.    So at this point, your best recollection

19   is that Mr. Carbonniere came to you, talked to you about

20   the biopsy results, indicated that the margins were

21   positive, and you approved his treatment plan of two

22   weeks of Efudex.      Is that your testimony?

23       A.    I think we talked about -- we talked about -- we

24   talked about using Efudex.        I didn't tell him a time.

25       Q.    Did he tell you what he proposed to do?
     Case 2:15-cv-00236-ROS Document 236-1 Filed 01/18/19 Page 9 of 29
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 1       A.    No.

 2       Q.    Okay.     So rather than Mr. Carbonniere deciding

 3   whether or not to do a second biopsy, you made that

 4   decision?

 5       A.    I believe so.

 6       Q.    Okay.     And you were sure that your clinical

 7   impression of squamous cell carcinoma was confirmed by

 8   this biopsy?

 9                     MR. SMART:    Objection, foundation.

10   BY MR. CURTIN:

11       Q.    Is that your testimony?

12                    MR. SMART:     Objection again.

13   BY MR. CURTIN:

14       Q.    Go ahead.

15                    MR. SMART:     Can you repeat the question so

16   he can hear the terminology you just used?

17                    MR. CURTIN:     Sure.

18                    (Record read as follows:

19                     QUESTION:     And you were sure that

20             your clinical impression of squamous cell

21             carcinoma was confirmed by this biopsy?)

22   BY MR. CURTIN:

23       Q.    Okay.    He's right.      I'll fix that.

24             You were sure at this point that your clinical

25   impression of squamous cell carcinoma in situ had been
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 1   confirmed by this biopsy?

 2           A.   Yes.

 3           Q.   And you were, therefore, confident that a second

 4   biopsy was unnecessary?

 5           A.   Yes.

 6           Q.   And you were sure that this was not invasive

 7   squamous cell carcinoma?

 8           A.   There were no signs of vertical growth, yes.

 9           Q.   And you were also sure that there was no need

10   for a urology consult?

11                       MR. SMART:    At this time?

12   BY MR. CURTIN:

13        Q.      At this time.

14        A.      Not at this time.

15        Q.      Okay.    Because you were confident that there had

16   been no invasion of the mucosa of the meatus?

17        A.      The meatus looked normal.

18        Q.      And in your experience, it's obvious to visual

19   inspection if a meatus has been invaded?

20        A.      It's at the tip of it.

21                       MR. SMART:    John, when you get to a point,

22   I'd like to take a break.          I won't interrupt your time

23   here, but when we get to a point that works.

24                       MR. CURTIN:    All right.

25   /   /
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 1              BE IT KNOWN that the foregoing proceedings
     were taken before me; that the witness before testifying
 2   was duly sworn by me to testify to the whole truth; that
     the questions propounded to the witness and the answers
 3   of the witness thereto were taken down by me in shorthand
     and thereafter reduced to typewriting under my direction;
 4   that the foregoing is a true and correct transcript of
     all proceedings had upon the taking of said deposition,
 5   all done to the best of my skill and ability.
 6              I CERTIFY that I am in no way related to any
     of the parties hereto nor am I in any way interested in
 7   the outcome hereof.
 8        [x]   Review and signature was requested.
          [ ]   Review and signature was waived.
 9        [ ]   Review and signature was not requested.
10             I CERTIFY that I have complied with the ethical
     obligations in ACJA Sections (J)(1)(g)(1) and (2).
11
12
13
14
15   ______________________________________________________
     Leslie J. Foldy
16   Arizona Certified Reporter 50041
17
                I CERTIFY that this Registered Reporting Firm
18   has complied with the ethical obligations in ACJA
     Sections (J)(1)(g)(1) and (2).
19
20
21
22
23   ______________________________________________________
     Foldy Reporting
24   Arizona Registered Reporting Firm R1004
25
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            EXHIBIT B
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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA

       Lawrence N. Cherry and Judy G.   )
       Cherry, husband and wife,        )
                                        )
                         Plaintiffs,    )
                                        )
           vs.                          ) No. 2:15-cv-00236-PGR
                                        )
       United States of America; et al.,)
                                        )
                         Defendants.    )
       _________________________________)


                   DEPOSITION OF STEVEN CARBONNIERE, PA

                               Phoenix, Arizona
                               August 28, 2015
                                  1:04 p.m.


                                           FOLDY REPORTING
                                    4032 N. Miller Rd., Ste. 100
                                       Scottsdale, AZ 85251
                                            480.699.8002
                                  Registered Reporting Firm R1004


                                 Prepared by:
                                 Leslie Foldy, RMR, CRR
                                 Certified Court Reporter 50041


       Prepared for:

       (Copy)
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                                                                         3
                          Steven Carbonniere, PA                 8/28/2015
                         Cherry v. United States


 1               DEPOSITION OF STEVEN CARBONNIERE, PA,
 2     Taken on August 28, 2015, commencing at 1:04 p.m., at the
 3     offices of Robbins & Curtin, Phoenix. Arizona, before
 4     Leslie J. Foldy, Arizona Certified Court Reporter No.
 5     50041.
 6
 7     APPEARANCES:
 8          For the Plaintiffs:
 9               John M. Curtin, Esq.
                 Robbins & Curtin
10               301 East Bethany Home Road, Suite B-100
                 Phoenix, AZ     85012
11               john@robbinsandcurtin.com
12          For the Defendants:
13               Adam R. Smart, Esq.
                 United States Attorney's Office
14               40 North Central Avenue, Suite 1200
                 Phoenix, AZ     85004
15               adam.smart@usdoj.gov
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                                                                         4
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 1                        STEVEN CARBONNIERE, PA,

 2     a witness herein, having been first duly sworn by Leslie

 3     Foldy, Arizona Certified Court Reporter No. 50041, to

 4     speak the truth and nothing but the truth, was examined

 5     and testified as follows:
 6
 7                               EXAMINATION

 8
 9     BY MR. CURTIN:

10          Q.    State your name for the record, please.

11          A.    Steven Wayne Carbonniere.
12          Q.    "car-bon-YAIR"?     I've been calling you

13     "car-bon-YAIR-ree" for --
14          A.    A lot of people think it's Italian, but it's

15     French.

16          Q.    Okay.   Carbonniere.
17                Have you ever had your deposition taken before?

18          A.    No.
19          Q.    Okay.   There is a couple rules that we have to
20     follow primarily directed at getting a good transcript.

21     The first one is I need you to give me verbal responses,

22     yes and no, instead of nods and shakes of the head.
23     Okay?

24          A.    Got it.
25          Q.    All right.    Second thing is, uh-huh and huh-uh


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 1          Q.    Now, how did you determine whether or not it was

 2     invading the meatus?

 3          A.    With the dermatoscope.

 4          Q.    What's a dermatoscope?

 5          A.    It's a 10x, high-quality scope used to examine

 6     skin findings.

 7          Q.    Okay.    So you're essentially looking at it with

 8     a magnifying device?

 9          A.    Correct.

10          Q.    Did you insert the magnifying device past the

11     initial sphincter of the penis?

12          A.    No.

13          Q.    Did you insert it into the meatus?

14          A.    No.

15          Q.    So you just examined it, the exterior?

16          A.    Well, I opened it up and looked very carefully

17     at the mucosa inside.

18          Q.    I see.    So you kind of squeezed the tip of the

19     penis and focused your device, magnifying device in the

20     opening?

21          A.    Yes.

22          Q.    And is that lighted?

23          A.    Yes.

24          Q.    Now, Dr. Reardon I think has since testified

25     that your description of the lesion was incorrect.


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                           Steven Carbonniere, PA                8/28/2015
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 1          A.    I think he's correct.

 2          Q.    Did he tell you that in 2010?

 3          A.    Not that I recall.

 4          Q.    It says biopsy is offered, but client is not

 5     willing.

 6                Do you recall that discussion?

 7          A.    I do.

 8          Q.    Tell me what you recall about that discussion.

 9          A.    That I told him that this looked like a cancer

10     and that a biopsy would be definitive --

11                Hold on one second.     Okay.

12                -- but he didn't want a biopsy.

13          Q.    Do you recall anything else about that

14     discussion?

15          A.    No.

16          Q.    Was Dr. Reardon present for that discussion?

17          A.    I don't remember.

18          Q.    Do you remember if he participated in that

19     discussion at all?

20          A.    Not specifically.

21          Q.    Okay.   Now, you felt this was likely early

22     squamous cell carcinoma on the tip of the penis; correct?

23          A.    Yes.

24          Q.    What is meant by early squamous cell carcinoma?

25          A.    Noninvasive.


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 1          Q.   Now, were you able to come to a definitive

 2     opinion as to whether or not this was an invasive lesion

 3     based on your visual inspection and inspection with the

 4     dermatoscope?

 5          A.   Well, after discussing the case with

 6     Dr. Reardon, yes, because he -- we discussed the fact

 7     that it was indeed a macule and not raised, and since it

 8     wasn't raised, there is no vertical growth, so in situ is

 9     the most likely diagnosis.

10          Q.   Okay.    If Dr. Reardon told you in 2010 that this

11     was a macule as opposed to a lesion that you've

12     described, can you tell me why you didn't correct the

13     record?

14          A.   Well, I don't remember exactly when I discussed

15     macule versus papule.      I don't recall that.     But

16     subsequently we discussed it in depth afterwards and the

17     treatment options.

18          Q.   Okay.    At what point in Mr. Cherry's treatment

19     do you think you discussed the difference between a

20     papule and a macule?

21          A.   I don't know exactly.      Sometime in between

22     seeing him and the end of the day.

23          Q.   Okay.    So that same day you would have known

24     that your description of this as a papule, which as I

25     understand is a raised lesion --


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 1          A.   Correct.

 2          Q.   Now, it appears that your proposed form of

 3     treatment was Efudex twice a day to the penis for two

 4     weeks followed by desonide.       Is that correct?

 5          A.   Yes.

 6          Q.   What is Efudex?

 7          A.   It's 5-fluorouracil.      It's a chemotherapeutic

 8     drug.

 9          Q.   And desonide is what?

10          A.   Steroid.

11          Q.   What was your basis for prescribing two weeks of

12     Efudex?

13          A.   It's a standard therapy that we use for an in

14     situ squamous cell carcinomas.

15          Q.   Where did you learn that protocol?

16          A.   At the VA.

17          Q.   Who taught that to you?

18          A.   Multiple practitioners there use that same

19     criteria for treatment.

20          Q.   Did you tell Dr. Reardon that you were

21     prescribing Efudex for two weeks?

22          A.   Well, I don't remember if he -- if I told him

23     what I was going to prescribe, but we discussed it, and

24     that's why it was prescribed.

25          Q.   I'm sorry.    I'm not getting the distinction


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                          Steven Carbonniere, PA                 8/28/2015
                         Cherry v. United States


 1     you're drawing.

 2          A.   Well, the choice of therapy was not mine; it was

 3     his.

 4          Q.   Okay.    So did Dr. Reardon recommend Efudex for

 5     two weeks?

 6          A.   Yes.

 7          Q.   Now, Dr. Reardon has subsequently testified that

 8     he did not agree with a two-week period of treatment with

 9     Efudex.   Was that brought to your attention?

10          A.   No.

11          Q.   He has testified that his protocol would be to

12     use Efudex for four weeks.       Were you aware of that?

13          A.   No.

14          Q.   It's your testimony that Dr. Reardon told you to

15     use the Efudex for two weeks; is that correct?

16          A.   To the best of my recollection, yes.

17          Q.   Tell me what you would have told Mr. Cherry

18     about Efudex.

19          A.   To use it on freshly cleaned skin.        Apply a

20     very, very thin layer twice a day, washing each time

21     before, and doing it twice a day for 14 days, and then

22     start using the desonide in the same manner until the

23     redness resolves.

24          Q.   Okay.    Anything else?

25          A.   We hand out an instruction sheet that


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                           Steven Carbonniere, PA                8/28/2015
                          Cherry v. United States


 1          A.    I don't remember.

 2          Q.    Do you have any information about that?

 3          A.    I don't remember, not right now.

 4          Q.    Is that something you would have discussed with

 5     a patient?

 6          A.    Not typically.

 7          Q.    Now, I know you had recommended biopsy at this

 8     point.    Were there any other alternatives to treatment

 9     for Mr. Cherry at this point other than biopsy versus

10     Efudex?

11          A.    Well, there is cryotherapy; Aldara, which is

12     another chemotherapeutic drug.       I don't know that -- I

13     think those would be the only -- and surgery -- would be

14     the only other options.

15          Q.    So surgery would have been one option?

16          A.    Yes.

17          Q.    Now, I just want to put this conversation in

18     context.     Obviously, because at this point no biopsy had

19     been done, you did not really know for certain if there

20     was a potentially invasive carcinoma or not; is that

21     correct?

22          A.    Not for certain.

23          Q.    Okay.   But you were fairly confident that there

24     was no invasive component to this lesion because it was a

25     macule versus papule?


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 1          A.    Yes, and based on the recommendations

 2     Dr. Reardon had made.

 3          Q.    Now let's --

 4                       MR. CURTIN:    What time is it?

 5                       MR. SMART:    2:17.

 6                       MR. CURTIN:    Been going a little over an

 7     hour.     Do you want a break?

 8                       THE WITNESS:    No, that's fine.

 9                       MR. CURTIN:    Then let's bash on.

10                       Let's mark this as Exhibit Number 3,

11     please.

12                       (Deposition Exhibit Number 3 was marked

13     for identification.)

14     BY MR. CURTIN:

15          Q.    And I'm showing you what has been marked as

16     Exhibit Number 3 to your deposition, which is a

17     dermatology note authored by you on January 15, 2010;

18     correct?

19          A.    Um-hum.

20          Q.    Yes?

21          A.    Yes.

22          Q.    Okay.    And this actually is both a clinical note

23     and a procedure note; is that right?

24          A.    It is.

25          Q.    It appears that Mr. Cherry had returned to you,


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 1     middle.   So, yeah, you can see the lateral.        I would

 2     expect it to say that the lateral margins were included.

 3          Q.   Okay.    So when you did the biopsy, you

 4     deliberately left some behind?

 5          A.   Absolutely.

 6          Q.   So you were not doing the biopsy for purposes of

 7     cure?

 8          A.   Correct.

 9          Q.   Can you tell on visual inspection whether the

10     lesion extends below the surface of the skin?

11          A.   No.

12          Q.   Did you examine the specimen yourself in the

13     lab?

14          A.   No.

15          Q.   Did you speak at any point with

16     Dr. Felty-Duckworth?

17          A.   Not that I recall.

18          Q.   Would you agree that based on what's in this

19     pathology report that invasive squamous cell carcinoma is

20     now on the differential diagnosis?

21          A.   Yes.

22          Q.   If invasive squamous cell carcinoma is on the

23     differential, would you agree with me that a reasonable

24     and prudent physician's assistant is obligated to try to

25     rule that out?


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 1          A.   I think I'm obligated to consider it, but then

 2     you have to look at it in context, and I discussed this

 3     with Dr. Reardon both before we did the biopsy -- because

 4     we discussed doing the biopsy at the first visit, and it

 5     didn't really change the treatment in his case because it

 6     was still felt to be clinically an in situ lesion, and

 7     pathologists often -- I don't think she wrote it here --

 8     but will often say correlate clinically.

 9               So pathology is not everything, but yes, it is a

10     consideration, but it has to be incorporated into

11     clinical experience, and Dr. Reardon's clinical

12     experience still said this was treatable with Efudex.

13          Q.   Need to parse that out a little bit.

14               What you're telling me, I think, is that

15     sometime after Dr. Felty-Duckworth signed off on this

16     pathology report, you and Dr. Reardon had a conversation

17     about it?

18          A.   I am nearly certain.      I cannot say with 100

19     percent certainty, but I'm pretty darn sure that's the

20     case.

21          Q.   Can you tell me anything about that

22     conversation?

23          A.   No.

24          Q.   Did you discuss whether it affected the

25     treatment plan?


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 1          A.    I told you I don't remember the conversation.

 2          Q.    So you had a conversation with -- you're fairly

 3     certain you had a conversation with Dr. Reardon about the

 4     pathology reports, but you can't tell me anything about

 5     that conversation?

 6          A.    I know that we discussed this case more than one

 7     time.     I don't know exactly when.

 8                But the critical junctures are when you first

 9     suspect something like this and what will be done -- in

10     this case, the option of biopsy versus proceeding just to

11     treatment -- and then the next critical junction is once

12     you had a biopsy result with a definitive diagnosis, now

13     what.

14                And I cannot imagine I would have proceeded in

15     this case because of the potentially severe consequences

16     of not getting it right, then I would have just, oh, I'll

17     just proceed.

18          Q.    Okay.    And that's why you believe you consulted

19     Dr. Reardon?

20          A.    Yes.    I'm careful.

21          Q.    Okay.    I asked you a minute ago about what you

22     believe a reasonable and prudent physician's assistant

23     would be required to do.      I want to ask a slightly

24     different question now.

25                If invasive squamous cell carcinoma is on the


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 1               Given that the lesion has recurred despite

 2     treatment with Efudex, explain to me why that was the

 3     best option that you could offer Mr. Cherry.

 4                      MR. SMART:   Form.

 5                      You can answer.

 6                      THE WITNESS:    Because it's not -- I'm not

 7     the authority in an instance like this.         Despite

 8     questions that I might have sometimes, unless I'm certain

 9     based on previous experience with some other clinician or

10     literature that I've read, I will defer to what they

11     recommend, and as I said before, there is zero chance

12     that I would have proceeded with this treatment without

13     consulting one of the attendings.        It is not possible.

14     BY MR. CURTIN:

15          Q.   So absolutely you consulted Dr. Reardon or

16     another attending?

17          A.   Absolutely.

18          Q.   And Dr. Reardon or another attending told you

19     that the appropriate plan of treatment at this point was

20     Efudex for three weeks?

21          A.   Yes.

22          Q.   Okay.    And do you recall having this discussion,

23     or is it your assumption that you had this discussion?

24          A.   As I said before, it's not an assumption.           I

25     know I would have discussed this.


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 1          Q.    Do you recall having such a discussion?

 2          A.    As I said before, I don't recall specifically

 3     having this discussion.

 4          Q.    Okay.   So can you tell us anything else about

 5     the discussion you know you would have had?
 6          A.    I would have given the history of this patient

 7     having had a previous squamous cell carcinoma, that it

 8     was treated with Efudex, clinically it had resolved, and
 9     that he is presenting again with a similar lesion, and

10     that the patient did not want a biopsy.

11          Q.    I take it from your responses that the
12     recurrence is something of real concern to you?

13          A.    Yes.
14          Q.    Tell me why.

15          A.    Because either it represents incomplete

16     treatment of the initial lesion or this patient has
17     something driving his propensity for cancer, either a

18     human papilloma virus, some other irritant, or some
19     genetic propensity.
20          Q.    I wanted to ask you that, by the way.         You

21     looked at Mr. Cherry's penis through a scope on several

22     occasions; true?
23          A.    True.

24          Q.    Did you ever note lesions from HPV?
25          A.    Not that I recall.


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 1     partial penectomy eight months ago.

 2          A.    About that time, yes.

 3          Q.    Do you feel bad about that at all, what happened

 4     to him?

 5                       MR. SMART:   Objection, form.

 6                       You can answer.

 7                       THE WITNESS:   What do you mean by "feel

 8     bad"?

 9     BY MR. CURTIN:

10          Q.    I mean that only in the most general sense.        I'm

11     not asking you about culpability at this point.          But are

12     you sympathetic at all to his situation?

13          A.    Absolutely.

14          Q.    Have you looked back in your own mind at the

15     course of treatment that was provided here and asked

16     yourself is there anything I could have done to prevent

17     this?

18          A.    Yes.

19          Q.    Do you think that there was?

20          A.    Under the circumstances, no, because I have to

21     defer to what the attendings recommend.         They're the

22     experts.

23          Q.    Do you think you met the standard of care here?

24          A.    I think so, yes.

25          Q.    I've kind of tried to cover the waterfront as


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 2     was duly sworn by me to testify to the whole truth; that
       the questions propounded to the witness and the answers
 3     of the witness thereto were taken down by me in shorthand
       and thereafter reduced to typewriting under my direction;
 4     that the foregoing is a true and correct transcript of
       all proceedings had upon the taking of said deposition,
 5     all done to the best of my skill and ability.
 6                I CERTIFY that I am in no way related to any
       of the parties hereto nor am I in any way interested in
 7     the outcome hereof.
 8         [x] Review and signature was requested.
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 9         [ ] Review and signature was not requested.
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